
E. GRADY JOLLY, Circuit Judge,
concurring in part and dissenting in part:
I respectfully dissent from Part II B of the majority’s opinion. The majority holds that it is a federal crime for local jail officials to accept bribes for conjugal visits because conjugal visits constitute “business” or “transactions” of the Hidalgo County Jail. It reaches this conclusion even though the conduct in question did not affect federal funds directly or indirectly, the only congressional objective of this criminal statute. Moreover, the majority holds that these conjugal visits have a value of at least $5,000 based solely on the amount of the bribes received by the local jail officials. The majority thus enlarges the scope of this statute by effectively holding that the statute is violated whenever a bribe satisfies the transactional amount prescribed by the statute even when the transaction has no value to the jail and thus could have no effect on federal interests. With due respect for the majority, I am unable to agree with this virtually unlimited expansion of 18 U.S.C. § 666(a)(1)(B).
(1)
As noted in the majority opinion, the statute requires that the government prove that the defendants were agents of the Hidalgo County Jail, and that the jail received, in any one-year period encompassing the defendants’ conduct, more than $10,,000 in “benefits” from a “Federal program” involving a grant or contract. 18 U.S.C. § 666(a)(1), (b) (1994). The government further must prove that the defendants, as agents of the jail, accepted “anything of value” from someone, and did so with the intent to be influenced or rewarded in connection with “any business, transaction, or series of transactions” of the jail “involving anything of value of $5,000 or more.” § 666(a)(1)(B).
The majority concludes that the statute clearly encompasses the conduct of the defendants. I conclude that the statute clearly does not reach the conduct at issue. These two contrary positions, each supported by its own rationale, would lead one to conclude that the statute is ambiguous.
The majority parses the language of the statute to find clarity where, when fully considered, there is only ambiguity. Isolating words from the context of the statute, it focuses on “anything of value” instead of considering the whole of the phrase “any business, transaction, or series of transactions of such organization, government, or agency involving anything of value of $5,000 or more” so as to conclude that the statute is plain and clear that valuations can be from the perspective of any of the parties involved. The Second Circuit persuasively demonstrated the ambiguity involved in this point when it recently rejected the “clarity” proclaimed by the majority here, by stating: “§ 666(a)(1)(B) is silent as to the identity of the person or entity to whom the ‘□thing’ must have at least a $5,000 value.” United States v. Foley, 73 F.3d 484, 490 (2d Cir. 1996).29
In its effort to fulfill the elemental requirements of the statute, specifically that the “transactions” had a “value of $5,000,” the majority confuses and then fuses the value of the transactions with the amount of the bribe. Yet, the two are completely distinct under the statute. The text of the statute makes clear that the acceptance of “anything of value,” i.e., the acceptance of the bribe, is a separate element of the crime from the amount of the transaction; consequently, the amount of the bribe has no statutory relevance to the value of the transaction. Stated differently, the value of the transaction cannot automatically be extrapolated from the amount of the bribe, but instead must be established on grounds independent, at least in some way, of the bribe. Our decision in United States v. Westmoreland, 841 F.2d 572 (5th Cir.), cert. denied, 488 U.S. 820, 109 S.Ct. 62, 102 L.Ed.2d 39 (1988), illustrates the illogic of the majority’s analysis in using *422the bribe to satisfy both the “anything of value” element of the crime and the “value of the transaction” element. There, a county supervisor accepted bribes totaling $2,202 in connection with the purchase of $14,482.92 worth of goods for the county. Id. at 575. The purchases made by the county supervisor constituted the series of transactions of the county “involving anything of value of $5,000 or more”; the bribes satisfied the “anything of value” element of the crime. In short, as applied in this case, the language of § 666(a)(1)(B) is at best ambiguous insofar as it concerns the method of valuing a transaction.
(2)
Given this ambiguity, it is necessary to turn to the legislative history for guidance in interpreting and applying the statute. High-tower v. Texas Hospital Association, 65 F.3d 443, 448 (1995). Faced with legislative history that does not support its reading of the statute, however, the majority evades grappling directly with the legislative histoiy.30 Instead, the majority falls back on generalized descriptions of that legislative history from our decision in Westmoreland. The majority states that its broad reading of the language of the statute “squares with Congress’s intent in enacting 18 U.S.C. § 666 to safeguard ‘the integrity of federal funds by assuring the integrity of the organizations or agencies that receive them.’ ” Maj. Op., at 411 (quoting 841 F.2d at 578). The majority also states that “Congress ‘cast a broad net to encompass local officials who may administer federal funds, regardless of whether they actually do.’ ” Id. at 411 (quoting 841 F.2d at 577). Unfortunately, the majority quotes from Westmoreland without reviewing the context of the legislative history in which those descriptions arose. Such a review demonstrates the majority’s inappropriate use of these descriptions to support its overly-broad reading of the reach of the statute.
In Westmoreland, a county supervisor was convicted of receiving kickbacks for purchases of county materials that involved only non-federal funds of the county. 841 F.2d at 573. The defendant argued that “the statute requires the involvement of federal, not merely state, funds in the allegedly corrupt transactions.” 841 F.2d at 575. After reviewing the statutory language and the legislative history, we said:
“[WJhile the legislative history manifests a congressional intent to preserve the integrity of federal funds, Congress specifically chose to do so by enacting a criminal statute that would eliminate the need to trace the flow of federal monies and that would avoid inconsistencies caused by the different ways that various federal programs disburse funds and control their administration.” Id. (emphasis added).
The court in Westmoreland thus recognized that the legislative history exhibited a clear intent to protect federal funds distributed to non-federal entities. Recognizing the difficulty involved in tracing federal funds, Westmoreland remained faithful to this congressional objective by holding that § 666 encompassed transactions involving non-federal funds of an entity receiving federal funds. Westmoreland did not hold that Congress meant to criminalize any act of bribery involving non-federal entities receiving federal funds, but only those acts of bribery that could somehow be traced, directly or indirectly, to the integrity of federal program funds. The majority’s use of Westmoreland’s generalized descriptions of the legislative history to support its overly-broad reading of the statute thus does not square with Westmoreland’s own recognition of congressional purpose or the reasoning behind its holding.
Turning to the precise legislative history, I find that it clearly reveals that Congress did not intend for § 666(a)(1)(B) to be applied to conduct such as the acceptance of bribes to *423allow conjugal visits. Instead, Congress was only concerned with protecting the federal monies disbursed to non-federal entities. “This part of title XI is designed to create new offenses to augment the ability of the United States to vindicate significant acts of theft, fraud, and bribery involving Federal monies that are disbursed to private organizations or State and local governments pursuant to a Federal program.” 1984 U.S.C.C.A.N. at 3510 (emphasis added). Congress also stated that “the purpose of this section [is] to 'protect the integrity of the vast sums of money distributed through Federal programs from theft, fi’aud, and undue influence by bribery.” Id. at 3511.
The majority’s attempt to find support in the circuit court cases cited in the legislative history, see Maj. Op., at 411 n. 8; 1984 U.S.C.C.A.N. at 3511 &amp; nn. 2-3, will not withstand a careful look. None of the cases from the legislative history cited by the majority supports the majority’s reading of § 666(a)(1)(B) because the conduct at issue in those cases directly implicated federal monies. United States v. Hinton, 683 F.2d 195 (7th Cir.1982) (soliciting money in exchange for award of housing rehabilitation contracts funded by HUD), aff'd sub nom., Dixson v. United States, 465 U.S. 482, 104 S.Ct. 1172, 79 L.Ed.2d 458 (1984); United States v. Mosley, 659 F.2d 812 (7th Cir.1981) (receiving money in exchange for giving preferential treatment to individuals seeking jobs funded by Comprehensive Employment and Training Programs Act); United States v. Del Toro, 513 F.2d 656 (2d Cir.) (bribing city administrator to insure that program receiving funding from HUD would lease building), cert. denied, 423 U.S. 826, 96 S.Ct. 41, 46 L.Ed.2d 42 (1975). In this case, allowing conjugal visits to a federal prisoner, in no way that my eyes can see, implicates federal monies.
Furthermore, I have found nothing in the legislative history to indicate that Congress meant to reach acts of bribery — as the majority does — involving any and all official acts of agents of non-federal entities in the same way that 18 U.S.C. § 201 reaches acts of bribery involving all official acts of federal agents.31 Instead, Congress was focused on providing criminal sanctions precisely and only for abuse of, or threat to, federal monies that are disbursed to these non-federal entities. Westmoreland logically extends the reach of the statute — based on a recognition of the fungibility of money — to non-federal funds of that entity.
(3)
The majority’s decision today also creates a split with the well-reasoned and more carefully crafted decision of the Second Circuit in United States v. Foley.32 In Foley, a Connecticut legislator was convicted of receiving a bribe to help secure the passage of legislation that would have given a recently-merged bank a one-year exemption from a divestiture requirement. 73 F.3d at 486-87. Although the defendant received a $25,000 bribe and the exemption was worth more than $5,000 to the bank, the Second Circuit held that the transaction did not meet the “$5,000 or more” requirement of § 666(a)(1)(B) because the government had not shown that the exemption was worth at least $5,000 to the State of Connecticut. “[T]he exemption affected neither the financial interests of the protected organization nor federal funds directly.” Id. at 493. Based on a clear understanding of the congressional objective in enacting § 666, the Second Circuit determined that the proper method to value a transaction is from the perspective of the protected entity, not from the perspective of “any willing buyer,” as the majority would *424have us accept. Maj. Op., at 413. The Foley court stated:
[T]he value of a thing for purposes of § 666(a)(1)(B) is not to be assessed by reference to any and every perspective or measure of value, no matter how subjective or arbitrary. Instead, the assessment of the thing’s value must be connected, even if only indirectly, to the integrity of federal program funds.
73 F.3d at 490.
In an effort to distinguish Foley from these facts and from Fifth Circuit law, the majority contends that the defendant in the Fifth Circuit’s Westmoreland decision would not have been convicted under Foley because the transaction in that case did not involve federal funds. Maj. Op., at 412 n. 9. Based on two quoted passages from Foley mentioning federal funds, the majority strains to conclude that the Foley Court held that federal funds must be involved in the transaction and that, therefore, the decision conflicts with Westmoreland. Id. A casual reading of Foley will reveal the majority’s erroneous interpretation of that decision. First, Foley cites with approval our decision in Westmoreland. 73 F.3d at 491. Second, the Foley Court noted that the Second Circuit has already held that the government is not required to trace the corrupt transaction to federal program funds. Id. at 490-91 (citing United States v. Coyne, 4 F.3d 100, 108-10 (2d Cir.1993), cert. denied, — U.S.-, 114 S.Ct. 929, 127 L.Ed.2d 221 (1994)).33 Third, the Foley Court recognized that the corrupt transaction violated § 666(a)(1)(B) if it affected either “the financial interests of the protected organization” or “federal funds directly.” Id. at 493. The majority’s attempt to distinguish Foley is, I respectfully submit, superficial.
(4)
Finally, I would observe that when a criminal statute only ambiguously applies to the conduct in question, surely the rule of lenity counsels that we construe the statute in favor of the defendant. Liparota v. United States, 471 U.S. 419, 427, 105 S.Ct. 2084, 2089, 85 L.Ed.2d 434 (1985).
(5)
To summarize, in interpreting § 666(a)(1)(B), we first must look to the specific statutory language, and in the light of its ambiguity, the legislative history, to determine whether this provision intends to reach this conduct. Dowling v. United States, 473 U.S. 207, 213, 105 S.Ct. 3127, 3131, 87 L.Ed.2d 152 (1985) (“[W]hen assessing the reach of a federal criminal statute, we must pay close heed to language, legislative history, and purpose in order strictly to determine the scope of the conduct the enactment forbids”). Neither the plain language nor the legislative history indicates that Congress wrote this provision to reach the acceptance of bribes for conjugal visits, conduct that left both federal and state fiscs untouched. Congress intended to reach only conduct involving — directly or indirectly— the fiscal integrity of non-federal entities receiving federal monies. Because the defendant’s conduct in no discernable way implicated the fiscal integrity of the Hidalgo County Jail, and because the majority’s reading of the statute contradicts the clear expression of congressional intent in the legislative history, I respectfully dissent.

. The majority cites Westmoreland to support its claim that the statutory language is unambiguous. Maj. Op., at 411 n. 7. The fact that we found the statutory language "plain and unambiguous” on one issue, namely, whether § 666(a)(1)(B) imposes a tracing requirement, does not mean that it is “plain and unambiguous” on all issues.


. The majority does quote a passage from the legislative history that directly contradicts its interpretation of § 666 without attempting to explain this contradiction:
[18 U.S.C. § 666 was] designed to create new offenses to augment the ability of the United States to vindicate significant acts of theft, fraud, and bribery involving Federal monies that are disbursed to private organizations or State and local governments pursuant to a Federal program.
Maj. Op., at 411 (quoting S.Rep. No. 225, 98th Cong., 2d Sess., reprinted in 1984 U.S.C.C.A.N. 3182, 3510) (emphasis added).


. Section 201 reads in part: "Whoever, being a public official ... accepts ... anything of value ... for being influenced in the performance of any official act ... shall be ... imprisoned____" 18 U.S.C. § 201(b) (1994). Congress was well aware of this provision when it passed § 666 because a circuit split concerning § 201’s application to non-federal entities motivated congressional action on § 666. See 1984 U.S.C.C.A.N. at 3510-11.


. Surprisingly, the majority supports its holding by citation to United States v. Mongelli, 794 F.Supp. 529, 531 (S.D.N.Y.1992), Maj. Op., at 411, 413, a decision overruled by the Second Circuit in Foley. See 73 F.3d at 496 (Lumbard, J., dissenting).


. The Coyne court itself recognized that it "agree[s] with the other circuits who have considered the question,” including Westmoreland. 4 F.3d at 110.

